            Case 1:21-cv-00424-JMC Document 16 Filed 05/09/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CITIZENS FOR RESPONSIBILITY AND
  ETHICS IN WASHINGTON,

                              Plaintiff,

                  v.                                 Civil Action No. 21-0424 (JMC)

  U.S. DEPARTMENT OF DEFENSE,

                              Defendant.


                                STIPULATION OF DISMISSAL
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Citizens for

Responsibility and Ethics in Washington and Defendant the United States Department of Defense

hereby stipulate to a dismissal of this action without prejudice, with each side to bear its own costs

and fees.

Dated: May 9, 2022                             Respectfully submitted,

                                               /s/ Anne L. Weismann
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         Case 1:21-cv-00424-JMC Document 16 Filed 05/09/22 Page 2 of 2




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       It is hereby ORDERED on this         day of                  , 2022 that this action is

DISMISSED without prejudice, with each side to bear its own costs and fees.




                                                     JIA M. COBB
                                                     United States District Judge
